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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

ECO FARMS SALES, INC., individually and on STIPULATION AND

behalf of all other similarly situated, ' ORDER OF
Plaintiff, DISMISSAL WITH

PREJUDICE

_VS_

XEROX CORPORATION, Civil Action No.:
Defendant. 1 7-cv-0663 7-MAT

 

 

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned attorneys
for the parties, that, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), by and between the undersigned,
that this action is hereby dismissed This dismissal is on the merits and With prejudice and

Without costs or fees to any party.

Dated: January 19, 2018 By: s/ E. Adam Webb
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Attorneys for Plaintl`jEco F arms Sales, lnc.

Dated: January 19, 2018 By: s/ Carolvn Nussbaum
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/_ Attorneys for Defendant Xerox Corporation
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